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Dear Judge Walton,

My name is Kassim Hassan Tajideen, named after my uncle Kassim, the defendant in this
criminal case. | am 30 years old. My father is the defendant’s brother and best friend and he sadly
passed away in a plane crash on January 25, 2010.

My life changed on that Monday morning after hearing about the crash. Every single word my father
had told me up till that day and every single thing he did, suddenly became much more important to
me. One of those memories is how he always honored his brother Kassim. My late father’s message was
always that we are where we are thanks to him, he took care of us and we are where we are thanks to
him.

From that moment onwards, Kassim Tajideen became my father. He is the one I call on Father’s Day. My
uncte Kassim does not treat me or my siblings any different than he treats his own children. When |
proposed to the woman | love and wanted to her to meet my family, | introduced them to my uncle
Kassim. His opinion of her mattered to me the most. Like a real father, he asked me if | loved her, if | was
ready for such a responsibility and warned me that there is no turning back. Three simple but most
significant things about marriage. He has always treated my wife as extension of myself showing the
same love and care he would show to his own daughter. Calling her on holidays, asking how she is and if
she needed something. He even traveled to Britain to visit us when she gave birth to my son. His
concern for my family’s well-being is sometimes overwhelming as if we were still small children.

The biggest Jesson | learned from him is to be humble. Uncle Kassim always speaks about his success in
terms of achievements, never in terms of money. It was not until | started working for him that | realized
the numbers behind those achievements. For example, he proudly speaks about how much output he
was able to produce in the factory or how many jobs he was able to create. Only, after working with
him, did | realize the financial numbers behind those achievements. This characterizes his humility and
his approach towards materialism and success. When | would introduce my friends to him, they would
tell me; “Is this him? He is the guy we heard so much about?”. So modest was the impression he left
behind on people which until 1 saw people’s reaction, | would consider as it normal as my uncle would
have me believe. However, their reaction taught me how extraordinary this individual is.

| have had the privilege of carrying my uncle's name through my life. I’ve gotten me more attention for it
and even gotten more love from it. Also, it’s a responsibility to live up to this name. Unfortunately, on ...
September 2017, | was arrested in Sharjah, United Arab Emirates for no other reason than sharing his
name. For 18 horrible days, | was jailed and questioned on the activities on my grandfather and never
charged with anything. However, | am not ashamed of it, my uncle gave me much more care, love, and
fatherhood, which are worth more than these 18 days in the abyss.

His absence is felt greatly in my family for he is not there to guide us through our lives, we have already
lost one father, now our second father is absent as well. Making family and business decisions is so
much harder, but | try every day to give his name justice that it deserves by asserting my kindness and
warmth and dedication to my life and work. | am so fortunate have him in my life.

Yours Truly,

Kassim Hassan Tajideen
